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                                     UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF TEXAS


In     Hugh P. Shannonhouse
Re:                                                                 Case No.: 24−30024




                           NOTICE BY CLERK OF PENDING DISMISSAL OF CASE
                                   FOR FAILURE TO PAY FILING FEE


By authority of Rule 1017(b) of the Federal Rules of Bankruptcy Procedure, the Clerk of Court hereby serves notice
that the filing fee (or an installment of the filing fee) for this case has not been paid as required by law. The Court
may dismiss this case 14 days after the issuance of this notice (the "Dismissal Date") unless:

1. The filing fee (or delinquent installment) is paid before the Dismissal Date, or

2. Prior to the Dismissal date, a party in interest requests a hearing.

THIS IS YOUR NOTICE AND OPPORTUNITY FOR A HEARING. AS PERMITTED BY SECTION 102(1) OF
THE BANKRUPTCY CODE. THE COURT MAY DISMISS THIS CASE WITHOUT AN ACTUAL HEARING IF
NO HEARING IS TIMELY REQUESTED.




ISSUED ON 1/16/24                                                   Nathan Ochsner
                                                                    Clerk of Court
